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 2
 3                                 UNITED STATES DISTRICT COURT
 4                                         DISTRICT OF NEVADA
 5
 6    UNITED STATES OF AMERICA,               )                  Case No. 2:11-cr-00347-KJD-CWH
                                              )
 7                Plaintiff,                  )
                                              )
 8          v.                                )
                                              )
 9    HENRI WETSELAAR, M.D., et al,           )                  ORDER
                                              )
10                Defendants.                 )
                                              )
11    _______________________________________ )
12           Presently before the Court is Defendant’s status report (ECF No. 275), detailing the progress
13    in medical examinations of Defendant. Defendant represents that Dr. Brown will be in a position to
14    complete his medical evaluation and submit it to the Court once Dr. Bernick has submitted his
15    report, which is anticipated to occur soon after August 16, 2016.
16           IT IS THEREFORE ORDERED that Defendant must submit a status report no later than
17    August 23, 2016 regarding the completion of Defendant’s medical examinations and submission of
18    reports to the Court.
19
20           DATED: August 10, 2016.
21
22                                                         _________________________________
                                                           C.W. Hoffman, Jr.
23                                                         United States Magistrate Judge
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